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effective compliance with this Agreement and that such compliance has been maintained for no
less than two years. Thereafter, the Parties shall promptly confer as to the status of compliance.
If, after a reasonable period of consultation and the completion of any audit or evaluation that
DO] and/or the Monitor may wish to undertake, including on-site observations, document
review, or interviews with the City and NOPD's personnel, the Parties cannot resolve any
compliance issues, the City may file a motion to terminate this Agreement. If the City moves for
termination of this Agreement, DO] will have 60 days after the receipt of the City'S motion to
object to the motion. If DO] does not object, the Court may grant the City'S motion. If DO]
does make an objection, the Court shall hold a hearing on the motion and the burden shall be on
the City to demonstrate that it is in full and effective compliance with this Agreement and has
maintained such compliance for at least two years.




                                                      For the UNITED STATES OF AMERlCA:


                                                      ERIC H. HOLDER, JR.
                                                      Attorney General




                                                     ~s L5iY
                                                      Assistant Attorney General
                                                      Civil Rights Division


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                                                laNA THAN M. SMITH
                                                Chief
                                                Special Litigation Section




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Executed on this 24th day of July, 2012




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                                                          For the CITY OF NEW ORLEANS:




                                                          R     L W. SERPAS
                                                            perintendent
                                                          New Orleans Police De




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                                                          RICHARD F. CORTIZAS
                                                          City Attorney

Executed on this 24th day July, 2012

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SO ORDERED this     _'_
                      I _ day of :::Ia b it1 C<\   "'7f---- ' 1
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